      Case 4:20-cv-02964 Document 20 Filed on 08/05/21 in TXSD Page 1 of 4




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 TERRI PEPPER, ANN BENITEZ,                       §
 DENISE ARNOLD, and SAMUEL                        §
 ROGERS,                                          §
                                                  §
 Plaintiffs,                                      §
                                                  §            CIVIL ACTION NO. 4:20-cv-2964
 v.                                               §
                                                  §
 LIBERTY POWER CORP., LLC,                        §
                                                  §
 Defendant.                                       §

                  UNOPPOSED MOTION TO WITHDRAW AS COUNSEL

       Pursuant to Local Rule 83.2 and Texas Disciplinary Rule of Professional Conduct 1.15,

Hogan Lovells US LLP (“Hogan Lovells”) hereby requests leave to withdraw as counsel for

Defendant Liberty Power Corp., LLC (“Liberty”) and would respectfully show the Court as

follows:

       1.      This lawsuit was commenced on August 24, 2020, and Hogan Lovells was retained

by Liberty as counsel shortly thereafter and entered an appearance.

       2.      On December 9, 2020, this Court entered an agreed Amended Scheduling Order

setting forth deadlines for the remainder of this litigation. Dkt. 19. The parties have also discussed

additional deadlines and solutions to resolving this litigation.

       3.      On April 20, 2021, Liberty Power Holdings LLC (“Holdings”) voluntarily filed for

bankruptcy in the Southern District of Florida under chapter 11 of title 11 of the United States

Code. In re Liberty Power Holdings, LLC (Cause No. 0:21-bk-13797). Liberty is identified as

Holdings’ “ultimate parent company” in the declaration of Holdings’ Chief Restructuring Officer.
      Case 4:20-cv-02964 Document 20 Filed on 08/05/21 in TXSD Page 2 of 4




Id. (Dkt. 10). On April 22, 2021, Liberty entered a notice of appearance and reservation of rights

in the Holdings Bankruptcy.1 Id. (Dkt. 20).

       4.      It is Hogan Lovells’ understanding that its primary client contact was terminated

by Liberty on or about April 20, 2021.

       5.      On May 19, 2021, Liberty filed a petition in the 17th Judicial Circuit in Broward

County, Florida, commencing an Assignment for the Benefit of Creditors (the “ABC”) pursuant

to chapter 727 of the Florida Statutes (Cause No. CACE-21-010056). See Ex. A (Notice of

Assignment for the Benefit of Creditors) ¶ 1.2

       6.      Hogan Lovells has no involvement with the ABC.

       7.      The sworn declaration of Liberty’s Majority Owner and past Chief Executive

Officer David Hernandez (filed on June 23, 2021, in an unrelated case pending in Massachusetts

and later filed in Cause No. CACE-21-010056 in Florida) states that a third party, Assignee Philip

J. Von Kahle (the “Assignee”) “is now in possession of all of Liberty Power Corp.’s assets[.]” Ex.

B (Declaration of D. Hernandez). The declaration further states that “Liberty Power Corp. is no

longer in custody, control or possession of its servers containing emails or documents” and that it

is “unable to hire defense counsel[.]” Id.

       8.      On July 23, 2021, Hogan Lovells emailed the Assignee that appears to be in control

of Liberty’s assets at the email address listed in Liberty’s Notice of Assignment for the Benefit of


1
  Hogan Lovells does not represent Liberty in the Holdings Bankruptcy and has not been informed
of or consulted regarding that appearance.
2
 Chapter 727 requires that all claims or contingent claims that arose prior to the ABC’s filing date
be filed “by delivering the claim to the assignee within 120 days from the filing date unless for
cause shown[,]” in this case September 16, 2021. 13 Fla. Jur. 2d Creditors’ Rights § 727.112(1)–
(2). Additionally, “[e]xcept in the case of a consensual lienholder enforcing its rights in personal
property or real property collateral, there shall be no levy, execution, attachment, or the like in
respect of any judgment against assets of the estate in the possession, custody, or control of the
assignee.” 13 Fla. Jur. 2d Creditors’ Rights § 727.105. Hogan Lovells has no involvement in the
Florida proceeding, nor was Hogan Lovells aware of that proceeding.

                                                 2
      Case 4:20-cv-02964 Document 20 Filed on 08/05/21 in TXSD Page 3 of 4




Creditors. See Ex. A (Notice of Assignment for the Benefit of Creditors) at 3. On July 29, 2021,

counsel for Assignee responded that Assignee has no position in this lawsuit and no objection to

Hogan Lovells’ withdrawal.

        9.      On July 29, 2021, Hogan Lovells emailed Liberty’s counsel in the ABC (the “ABC

counsel”) to inform him of Hogan Lovells’ intent to withdraw as Liberty’s counsel in this lawsuit.

The ABC counsel does not oppose Hogan Lovells’ withdrawal.

        10.     Texas Disciplinary Rule of Professional Conduct 1.15 permits the withdrawal of

counsel when “the representation . . . has been rendered unreasonably difficult by the client.” Tex.

R. Disc. P. 1.15(b)(6). Withdrawal is appropriate pursuant to this Rule because the Holdings

Bankruptcy and the apparent assignment of all of Liberty’s assets to Assignee has rendered

representation of Liberty unreasonably difficult such that Hogan Lovells is unable to continue to

represent Liberty in this litigation. See id.

        11.     Texas Disciplinary Rule of Professional Conduct 1.15 also permits the withdrawal

of counsel when “withdrawal can be accomplished without material adverse effect on the interests

of the client.” Tex. R. Disc. P. 1.15(b)(6). Hogan Lovells’ withdrawal also is appropriate because

it will not prejudice Liberty in light of chapter 727’s bar on enforcing a judgment against an ABC

assignor such as Liberty. See 13 Fla. Jur. 2d Creditors’ Rights § 727.105. In addition, although

the discovery deadline is set for August 13, there are no immediate deadlines in this lawsuit. Thus,

Liberty has ample time to obtain new counsel for this lawsuit to the extent it needs to do so. For

both these reasons, Hogan Lovells’ withdrawal will not have a material adverse effect on the

interests of Liberty.




                                                 3
      Case 4:20-cv-02964 Document 20 Filed on 08/05/21 in TXSD Page 4 of 4




                                        CONCLUSION

        For the foregoing reasons, Hogan Lovells US LLP respectfully requests this Court grant

its request to withdraw from further representation of Defendant Liberty Power Corp., LLC in this

litigation.


Dated: August 5, 2021                        Respectfully submitted,

                                             By: /s/ Aaron R. Crane
                                                 Aaron R. Crane
                                                 Texas SBN 24050459
                                                 SDTX No. 619093
                                                 aaron.crane@hoganlovells.com
                                                 HOGAN LOVELLS US LLP
                                                 609 Main Street, Suite 4200
                                                 Houston, Texas 77002
                                                 Tel.: (713) 632-1400
                                                 Fax: (713) 632-1401

                                                    Counsel for Defendant Liberty Power Corp.,
                                                    LLC.




                             CERTIFICATE OF CONFERENCE

        I hereby certify that on August 5, 2021, I spoke with counsel of record for Plaintiffs

regarding the foregoing motion. Plaintiffs do not oppose this motion.

                                                             /s/ Sydney C. Rupe
                                                             Sydney C. Rupe


                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing document was served on all counsel of record

via the Court’s CM/ECF system on August 5, 2021.

                                                             /s/ Aaron R. Crane
                                                             Aaron R. Crane


                                                4
